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ED
UNITED Edt oS TR COURT
IN THE UNITED STATES DISTRICT COURT RENVER, COLOR

FOR THE DISTRICT OF COLORADO SEP 3 0 2009

P :
Civil Action No. 09CV0? 431 nB _ GREGORY C. LANGHAM

(The above civil action number must appear on all future papers __. veto
sent to the court in this action. Failure to include this number
may result in a delay in the consideration of your claims.)

MALACHI Z. YORK-EL ©, misnomer DWIGHT YORK ©,
NOBLE: MALACHI YORK:EL: ©,

MALACHI KOBINA YORK,

ISSA AL HAAD! AL MAAHDI,

PARALEGAL PROFESSIONAL INC.,

UNITED WORLDWIDE NUWAUPIANS,

AS 1-10,000, and

YORK,

Applicants, named as Plaintiffs,
Vv.

UNITED STATES PROBATION AND SENTENCING OFFICE,
FEDERAL BUREAU OF PRISONS,

U.S. DEPARTMENT OF JUSTICE,

T. SUDLOW - Case Manager,

DON JENNINGS,

ADELSBERGER - Unit Manager,

GERALD BOZMAN - Case Manager,

KEVIN L. MASON - Sentencing & Probation,
ELIZABETH K. THOMAS - Sentencing & Probation,
BRIAN A. BLEDSOE, Warden,

L. MCDERMOTT, Health Services Specialist,

D. SHIEFELBEIN, Physician Assistant, and

J. T. SHARTLE, Former Associate Warden, Captain,

Respondents, named as Defendants.

 

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION AND
DIRECTING APPLICANT MALACHI Z. YORK TO CURE DEFICIENCIES

 

This matter is before the Court on a cover page titled “Complaint to Correct Pre-

Sentencing Report and Custody Classification With Designation With an Emergency
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Injunctive Medical Relief/Transfer and Petition to Quash the Indictment Due to New or
Suppressed Evidence,” a document titled “Torture Suit Jury Demand” and “Complaint to
Correct Pre-Sentence and Sentencing Report and Custody Classification With
Designation With an Emergency Injunctive Medical Relief/Transfer and Petition to
Quash Indictment With a Supplemental Habeas Corpus 28 U.S.C. § 2255,” and a
document titled “Emergency Injunction for a Medical Transfer.”

As part of the Court’s review pursuant to D.C.COLO.LCivR 8.2, the Court has
determined that, because Malachi Z. York, also known as Dwight D. York, is attacking
his 2004 conviction in the United States District Court for the Middle District of Georgia,
United States v. York, No. 02-cr-00027-CAR-1 (M.D. Ga. June 10, 2004), his claims
properly are asserted on a Court-approved form used in filing 28 U.S.C. § 2241
applications. In addition, because no other Applicant is a party to criminal case No. 02-
cr-00027-CAR-1, only Mr. York may attack his conviction in the Middle District of
Georgia and only he may sign the § 2241 application. The Court will dismiss as parties
to this action the following Applicants, named as Plaintiffs: Noble: Malachi York:El: ©,
Malachi Kobina York, Issa Al Haadi al Maahdi, Paralegal Professional Inc., United
Worldwide Nuwaupians, As 1-10,000, and York.

Mr. York has failed either to pay the $5.00 filing fee or to file a Prisoner's Motion
and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915 in a Habeas Corpus
Action. Notwithstanding the deficiency, the clerk of the Court will be directed to
commence a civil action. Mr. York will be directed to cure the following if he wishes to
pursue his claims. Any papers which Mr. York files in response to this order must

include the civil action number on the order.

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28 U.S.C. § 1915 Motion and Affidavit:

(1)
(2)
(3)

(4)
(5)
(8)
(7)
(8)

(9)
(10)

is not submitted

is missing affidavit

is missing certified copy of prisoner's trust fund statement for the 6-month
period immediately preceding this filing

is missing certificate showing current balance in prison account

is missing required financial information

is missing an original signature by the prisoner

is not on proper form (must use the court’s current form)

names in caption do not match names in caption of complaint, petition or
habeas application

An original and a copy have not been received by the court.

Only an original has been received.

other: Motion is necessary only if filing fee is not paid in advance.

Complaint, Petition or Application:

(11)
(12)
(13)
(14)
(15)
(16)

(17)

(18)
(19)

is not submitted

is not on proper form (must use the court’s current form)

is missing an original signature by the prisoner

is missing page nos. ___

uses et al. instead of listing all parties in caption

An original and a copy have not been received by the court. Only an
original has been received.

Sufficient copies to serve each defendant/respondent have not been
received by the court.

names in caption do not match names in text

other.

Accordingly, it is

ORDERED that the clerk of the Court commence a civil action in this matter. It is

FURTHER ORDERED that Mr. York cure the deficiencies designated above

within thirty (30) days from the date of this order. Any papers that Mr. York files in

response to this order must include the civil action number on this order. It is

FURTHER ORDERED that the clerk of the Curt mail to Mr. York, together with a

copy of this order, two copies of the following forms to be used in submitting his 28

U.S.C. § 2241 application: Prisoner's Motion and Affidavit for Leave to Proceed
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Pursuant to 28 U.S.C. § 1915 in a Habeas Corpus Action and Application for a Writ of
Habeas Corpus Pursuant to 28 U.S.C. § 2241. Itis

FURTHER ORDERED that the following Applicants, named as Plaintiffs, are
dismissed as parties to this action: Noble: Malachi York:El: ©, Malachi Kobina York,
Issa Al Haadi al Maahdi, Paralegal Professional Inc., United Worldwide Nuwaupians,
As 1-10,000, and York. It is

FURTHER ORDERED that the clerk of the Court remove the names of Noble:
Malachi York:El: ©, Malachi Kobina York, Issa Al Haadi al Maahdi, Paralegal
Professional Inc., United Worldwide Nuwaupians, As 1-10,000, and York as parties to
this action. It is

FURTHER ORDERED that, if Mr. York fails to cure the designated deficiencies
within thirty (30) days from the date of this order, the action will be dismissed
without further notice. The dismissal shall be without prejudice.

DATED at Denver, Colorado, this 78 tay of SY ptintr , 2009.

BY THE COURT:

Ppt (Wade

BOYD N/ BOLAND
United States Magistrate Judge
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 0 9 CV 023 5 1

Malachi York

aka Dwight York
Reg. No. 17911-054
ADX - Florence

PO Box 8500
Florence, CO 81226

| hereby certify that | have mailed a copy of the ORDER and two copies of the
Prisoner’s Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915
in a Habeas Corpus Action and Application for a Writ of Habeas Corpus Pursuant to
28 U.S.C. § 2241 forms to the above-named individuals on_4/2/ 09

GREGORY C. LANGHAM, CLERK

By:

 

\L Deputy Clerk

X.
